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                                 #:1738




                 EXHIBIT E
            Case 2:20-cv-00406-SSS-JC Document 112-13 Filed 06/06/23 Page 2 of 6 Page ID
                                             #:1739
Re: Gregorini v. Apple et al. - Rule 37-2 Joint Stipulation to Compel
Plaintiff's Further Interrogatory Responses and Document Production

 Antoinette Waller
 Fri 6/2/2023 9:53 AM


 To:Jampol,   Nicolas <NicolasJampol@dwt.com>; Krishnan, Meenakshi <meenakshikrishnan@dwt.com>;

 Cc:David
        Erikson <david@daviderikson.com>; Melanie Wilbur <Melanie@daviderikson.com>; Kayla Corrick <Kayla@daviderikson.com>;
   Freeman, Cydney <CydneyFreeman@dwt.com>; Antoinette Waller <Antoinette@daviderikson.com>;



Thanks for your email Nick.

I disagree with your asser ons regarding the history of this case. By "aggressively li ga ng" you mean li ga ng.
We waited for over three years to have defendants produce a single document. You have repeatedly refused to
have open discussions about the defendants' produc ons, including what we could expect and when we could
expect it. When we tried to shortcut some of the delay by asking for the easily producible documents, you took an
wholly unreasonable posi on on producing your clients' ini al disclosure documents pursuant to Ms. Gregorini's
document requests. You refused to provide any informa on about the documents and argued that we were
somehow responsible for your clients' alleged inability to iden fy their own disclosure documents.

What is the current status of defendants' document produc ons? You haven't told us. You said you were
producing all documents by the end of last month but we haven't received any further produc on.

If you claim that some of the defendants "do not belong in this case," as you say you brought up "years" ago to
David, you have not raised that in any direct way since the case was remanded.

A er the case was remanded, you waited for seven months before serving any discovery. You ul mately served
incredibly broad demands on Ms. Gregorini, well beyond any reasonable discovery. A er receiving Ms. Gregorini's
  mely responses to the discovery, you waited for over seven weeks to claim any deﬁciencies. You have not
addressed why you waited so long to bring up alleged shortcomings in the responses. When you ﬁnally did raise
issues, you acted as if we had somehow been refusing or delaying meet and confer eﬀorts. We were not aware of
any issues with Ms. Gregorini's responses because you had not raised any issues with the responses. When you
ul mately did raise issues in your 16 page le er, we were immediately responsive. But you assailed and
demeaned our eﬀorts. Our client's withdraw of her claims for actual damages should have a signiﬁcant impact on
the discovery. And yet you refuse to even discuss it with us.

Your oﬃce sent the Joint S pula on last Friday a ernoon without no ce or forewarning. We cannot prepare an
opposi on to the mo on and also "provide proposals" for you to consider. Given the abbreviated deadline to
serve our opposi on, as we've explained, we must focus on ge ng that done. That's why I asked you to
temporarily withdraw the Joint S pula on and allow the par es to meet and confer further. You refused. We will
present our arguments to the Court.

Best,
Antoine e
        Case 2:20-cv-00406-SSS-JC Document 112-13 Filed 06/06/23 Page 3 of 6 Page ID
From: Jampol, Nicolas <NicolasJampol@dwt.com>
                                              #:1740
Sent: Friday, June 2, 2023 9:11 AM
To: Antoine e Waller; Krishnan, Meenakshi
Cc: David Erikson; Melanie Wilbur; Kayla Corrick; Freeman, Cydney
Subject: RE: Gregorini v. Apple et al. - Rule 37-2 Joint S pula on to Compel Plain ﬀ's Further Interrogatory Responses and
Document Produc on

Antoine e,

I don’t appreciate your email. We have bent over backwards to be reasonable in terms of the case schedule and have
granted numerous extensions. It’s disappoin ng that you are somehow sugges ng that our desire to obtain documents or
li gate this case, in which you sued eleven diﬀerent defendants (some of whom, as I explained to David years ago, do not
belong in this case), suggests that we’re not sensi ve to David’s health concerns. We are, which is why we agreed to the
elongated case schedule and granted extension a er extension. You are aggressively li ga ng this case against us, and I
don’t appreciate the sugges on that we can’t do the same.

If you are serious about wan ng to resolve this discovery dispute, please provide some proposals. It’s been a week since
you’ve had the joint s pula on and we have yet to hear one proposal for a single one of the requests at issue. You stated in
your prior email that you think we can resolve some or most of these disputes, but we have not received any sugges ons
from you on how to do so. If you actually believe we can resolve some of these issues, provide those proposals. And please
produce the long-promised documents, which you said you would produce by May 31.

Thanks,
Nick.

Nicolas Jampol | Davis Wright Tremaine LLP
865 S Figueroa Street, Suite 2400 | Los Angeles, CA 90017
(213) 633-8651 | nicolasjampol@dwt.com | www.dwt.com


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From: Antoine e Waller <Antoine e@daviderikson.com>
Sent: Thursday, June 1, 2023 7:32 PM
To: Jampol, Nicolas <NicolasJampol@dwt.com>; Krishnan, Meenakshi <meenakshikrishnan@dwt.com>
Cc: David Erikson <david@daviderikson.com>; Melanie Wilbur <Melanie@daviderikson.com>; Kayla Corrick
<Kayla@daviderikson.com>; Freeman, Cydney <CydneyFreeman@dwt.com>; Antoine e Waller
<Antoine e@daviderikson.com>
Subject: Re: Gregorini v. Apple et al. - Rule 37-2 Joint S pula on to Compel Plain ﬀ's Further Interrogatory Responses and
Document Produc on

[EXTERNAL]


Nick -

We have repeatedly oﬀered to meet and confer and extended every eﬀort to discuss and resolve discovery
disputes. Your constant insistence to the contrary does not change those facts. The purpose of the Rule 37 process
is to enable the par es to ﬁnd resolu ons without the need for court interven on. You have thwarted that
purpose.

You have been playing games of “gotcha”. Without prior no ce to us, you served the Joint S pula on the Friday
before a holiday weekend. You made no serious eﬀort to resolve the disputes you ﬁrst raised in May, seven weeks
a er you received our client's discovery responses. You know that David and I are two a orneys facing your scores
of a orneys. You know that David has been in the hospital suﬀering complica ons from his ongoing
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cancer treatment.                         #:1741

Given your refusal to conduct any meet and confer discussion, we will oppose the mo on. We will provide our
por ons of the Joint S pula on by tomorrow night. This will, as you an cipated, require our full a en on and
eﬀort. It is unfortunate that you are unwilling to par cipate in a reasonable eﬀort to resolve discovery issues. We
will seek appropriate sanc ons from the court. Please note that we will need to include our request for sanc ons
in the no ce for the mo on. Please provide us with the no ce of mo on which you did not include with your
por on of the Joint S pula on.

Best,

Antoine e



From: Jampol, Nicolas <NicolasJampol@dwt.com>
Sent: Thursday, June 1, 2023 1:16 PM
To: Antoine e Waller; Krishnan, Meenakshi
Cc: David Erikson; Melanie Wilbur; Kayla Corrick; Freeman, Cydney
Subject: RE: Gregorini v. Apple et al. - Rule 37-2 Joint S pula on to Compel Plain ﬀ's Further Interrogatory Responses and
Document Produc on

Antoine e,

I disagree that you’ve been amenable to working coopera vely on discovery issues, which is why we had to
prepare the s pula on. A er wai ng six months for wri en responses, you refused to provide informa on and
documents on even the most founda onal issues in a copyright case, and then refused to meaningfully engage
with our a empts to meet and confer on your responses. In par cular, you declined to supplement numerous
discovery responses without any explana on, en rely ignored various requests, and failed to provide narrowing
proposals for most of the requests you claimed were overbroad or ambiguous. I also note that you promised to
provide documents by yesterday, but we didn’t see anything come through.

That being said, we would love to eliminate or narrow the scope of our mo on to compel, and agree that most of
these should be resolvable without burdening the Court. Accordingly, please let us know which responses you will
supplement and by what date you will do so. If you have par cular proposals to narrow or clarify any requests,
please provide them. To avoid any misunderstandings, please provide those in wri ng. But we will not be
withdrawing the mo on in the hopes that you now engage in the meet and confer process. Please provide your
por on of the s pula on back by tomorrow per the rules. If we are able to reach an agreement on any of the
requests at issue, we will no fy the Court of that in our supplemental ﬁling.

We are not trying to score points, but instead a emp ng to get the informa on and documents that we are
en tled to receive and that you are obligated to provide.

Thanks,
Nick.

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                                                         #:1742
From: Antoine e Waller <Antoine e@daviderikson.com>
Sent: Wednesday, May 31, 2023 5:45 PM
To: Krishnan, Meenakshi <meenakshikrishnan@dwt.com>; Jampol, Nicolas <NicolasJampol@dwt.com>
Cc: David Erikson <david@daviderikson.com>; Melanie Wilbur <Melanie@daviderikson.com>; Antoine e Waller
<Antoine e@daviderikson.com>; Kayla Corrick <Kayla@daviderikson.com>
Subject: Re: Gregorini v. Apple et al. - Rule 37-2 Joint S pula on to Compel Plain ﬀ's Further Interrogatory
Responses and Document Produc on

[EXTERNAL]


Dear Nick and Meenu –

We were shocked to receive your 67-page Joint S pula on late Friday a ernoon of the holiday weekend. As you
know, we have been and remain ready and amenable to work coopera vely to address any issues regarding
discovery ma ers. Your Joint S pula on mischaracterizes our meet and confer eﬀorts and ignores our repeated
stated willingness to work to informally resolve any disputes regarding our client’s discovery responses.

Defendants waited over seven weeks to raise any issue with Ms. Gregorini’s responses served in March. You sent
your ini al meet and confer le er raising disputes with more than 100 responses only this month. You also waited
un l a er we were forced to pursue our mo on to compel Uncle George’s produc on of ini al disclosure
documents in compliance with its responses to Ms. Gregorini’s requests for produc on.

We endeavored to meet and confer to address your concerns regarding our client’s discovery responses, including
by responding in wri ng to your meet and confer le er as you requested. On Friday, shortly a er the Court
granted our mo on to compel, you served your Joint S pula on without even acknowledging our le er and
without providing any opportunity for further comments or discussion.

We propose that you agree to withdraw the Joint S pula on for the me being, and the par es hold a joint
meet/confer session tomorrow a ernoon or Friday to discuss all outstanding discovery issues, including the
par es’ document produc ons and supplemental responses. We believe many, if not most of the issues can be
resolved by the par es informally without the need for court interven on. The mee ng would also include the
issues as to Blinding Edge’s discovery deﬁciencies as outlined in my May 22 le er.

If you are unwilling to withdraw the Joint S pula on served May 26, we will have to delay the mee ng on Blinding
Edge’s discovery deﬁciencies un l next week so that we may focus on preparing our opposi on to the Joint
S pula on.

When the whole story is told, it becomes transparent that defendants are more interested in scoring points than
in moving eﬃciently towards the truth. Especially given the broader context, I don't know why you think the
magistrate is not going to be able to see that.

Please advise by no later than 10:00 am tomorrow whether you are willing to withdraw the Joint S pula on and
conduct a further meet and confer session this week. We also ask that you respond to David’s May 26 inquiry
about agreeing to extend the expert witness disclosure deadlines.

Best,

Antoine e
         Case 2:20-cv-00406-SSS-JC Document 112-13 Filed 06/06/23 Page 6 of 6 Page ID
From: Krishnan, Meenakshi <meenakshikrishnan@dwt.com>   #:1743
Sent: Friday, May 26, 2023 3:07:35 PM
To: Antoine e Waller; David Erikson; Melanie Wilbur
Cc: Jampol, Nicolas
Subject: Gregorini v. Apple et al. - Rule 37-2 Joint S pula on to Compel Plain ﬀ's Further Interrogatory Responses
and Document Produc on

Hi Antoine e, David, and Melanie,

Please ﬁnd a ached Defendants Uncle George and Blinding Edge’s por on of a Local Rule 37-2 joint s pula on to
compel Plain ﬀ’s further interrogatory responses and produc on of documents. Per Local Rule 37-2.2, please
provide Plain ﬀ’s por on of the joint s pula on and any suppor ng declara on and exhibits within seven days.
We have set the mo on to compel hearing for June 27, 2023. The combined document will be ﬁled no later than
June 6, 2023, which is twenty-one days prior to the June 27 hearing per Local Rule 37-3.

Thanks and have a nice holiday weekend.

Best,
Meenu

Meenakshi Krishnan | Davis Wright Tremaine LLP
Associate
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Email: meenakshikrishnan@dwt.com | Website: www.dwt.com


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